                                                                     Entered on Docket
                                                                     April 08, 2024
                                                                     EDWARD J. EMMONS, CLERK
                                                                     U.S. BANKRUPTCY COURT
                                                                     NORTHERN DISTRICT OF CALIFORNIA



                         1                                               Signed and Filed: April 8, 2024
                             MEYER LAW GROUP LLP
                              A Limited Liability Partnership
                         2
                             BRENT D. MEYER, Cal. Bar No. 266152
                         3   268 Bush Street #3639
                             San Francisco, California 94104
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                             Facsimile: (415) 762-5277           DENNIS MONTALI
                         5
                             Email:      brent@meyerllp.com      U.S. Bankruptcy Judge
                         6
                             Attorneys for Debtor in Possession
                         7   66 BARRY LANE, LLC
                         8
                         9                             UNITED STATES BANKRUPTCY COURT
                    10                                 NORTHERN DISTRICT OF CALIFORNIA
                    11                                       SAN FRANCISCO DIVISION
                    12
                    13       In re                                          BK Case No.: 23-51443-DM

                    14       66 BARRY LANE, LLC,                            Chapter 11
                    15                       Debtor in Possession.          ORDER GRANTING MOTION TO
                    16                                                      SELL REAL PROPERTY COMMONLY
                                                                            KNOWN AS 66 BARRY LANE,
                    17                                                      ATHERTON, CALIFORNIA 94027
                                                                            FREE AND CLEAR OF LIENS
                    18
                    19                                                      [11 U.S.C. §§ 363(b)(1), (f)(2)-(4), (m);
                                                                            F.R.B.P. 6004(a); and B.L.R. 6004-1]
                    20
                                                                            AFFECTED LIENHOLDERS:
                    21                                                      (1) Technology Credit Union
                    22                                                      (2) Community Bank of the Bay
                                                                            (3) Dakota Note, LLC
                    23                                                      (4) Nariman Seyed Teymourian
                                                                            (5) Gail Suzanne Marie Teymourian
                    24
                                                                            (6) 2700 Middlefield Road, LLC, a Delaware
                    25                                                          limited liability company
                                                                            (7) Ferrando Diversified Capital, LLC, a
                    26                                                          California limited liability company
                                                                            (8) Alviso Park, LLC, a Delaware limited
                    27
                                                                                liability company
                    28                                                      (9) Sarah L. Little, Chapter 7 Trustee for the
                                                                                Estate Nariman Seyed Teymourian
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SAN FRANCISCO CA 94104
                             ORDER GRANTING MOTION TO SELL REAL PROPERTY COMMONLY KNOWN AS 66 BARRY LANE, ATHERTON,
www.meyerllp.com             CALIFORNIA 94027 FREE AND CLEAR OF LIENS
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                                                                              Date:          April 5, 2024
                         1
                                                                              Time:          10:00 a.m.
                         2                                                    Location:      Telephonic / Videoconference
                                                                              Judge:         Hon. Dennis Montali
                         3
                         4
                         5          On April 5, 2024, the Bankruptcy Court held a hearing on the Motion to Sell Real
                         6   Property Commonly Known as 66 Barry Lane, Atherton, California 94027 Free and Clear of
                         7   Liens (the “Motion”) [Dkt. No. 33] filed by Debtor in Possession 66 Barry Lane, LLC (“Debtor”)
                         8   in the above-captioned matter.
                         9          Attorney Brent D. Meyer of the Meyer Law Group, LLP appeared on behalf of Debtor.
                    10       Attorney Steven E. Abelman of Brownstein Hyatt Farber Schreck, LLP appeared on behalf of
                    11       buyer B. Lima LLC (“Buyer”). Attorney Eric A. Nyberg of Kornfield, Nyberg, Bendes, Kuhner
                    12       & Little, P.C. appeared on behalf of Sarah L. Little, Chapter 7 Trustee for the Bankruptcy Estate
                    13       of Nariman Seyed Teymourian. All other appearances were as noted on the record at the hearing
                    14       on the Motion.
                    15              Upon due consideration, for good cause shown and for the reasons set forth on the record
                    16       at the hearing on the Motion, the Court hereby orders as follows:
                    17              1.        The Motion is GRANTED in its entirety.
                    18              2.        Debtor is authorized to sell real property commonly known as 66 Barry Lane,
                    19       Atherton, California 94027 (the “Barry Lane Property”) to Buyer, or its assignee, pursuant to the
                    20       terms and conditions set forth in the Residential Purchase Agreement, as amended and ratified,
                    21       attached as Exhibit A to the Declaration of William Henry Haze [Dkt. No. 33-1] filed in support
                    22       of the Motion, pursuant to 11 U.S.C. § 363(b).
                    23              3.        Debtor is authorized to sell the Barry Lane Property free and clear of each of the
                    24       following claims, liens, and encumbrances pursuant to 11 U.S.C. §§ 363(f)(2), (f)(3), and (f)(4)
                    25       with the claims, liens, and encumbrances attaching to the proceeds of sale to the same nature,
                    26       extent, validity, priority as original on the Barry Lane Property, with the net proceeds of sale to
                    27       be held by Debtor pending either: (i) written agreement with Sarah L. Little, Chapter 7 Trustee
                    28       for the Bankruptcy Estate of Nariman Seyed Teymourian; or (ii) further order of the Bankruptcy

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                         1   Court:
                         2                   (a)       Deed of Trust of Technology Credit Union in the original principal
                         3   amount of $8,000,000.00 recorded in the Recorder’s Office for San Mateo County on or about
                         4   December 15, 2016 as Document No. 2016-133248;
                         5                   (b)       Deed of Trust of Community Bank of the Bay in the original principal
                         6   amount of $7,000,000.00 recorded in the Recorder’s Office for San Mateo County on or about
                         7   September 22, 2021 as Document No. 2021-135494;
                         8                   (c)       Deed of Trust of Dakota Note, LLC, as to an undivided
                         9   1,125,000/2,500,000 interest and Tanya Waltimyer, a married woman as her sole and separate
                    10       property, as to an undivided 650,000/2,500,000 interest and Jason Greenfield, a married man, as
                    11       his sole and separate property, as to an undivided 425,000/2,500,000 interest and Natural
                    12       Software Systems, Inc. Money Purchase Pension Plan, as to an undivided 300,000/2,500,000
                    13       interest in the original principal amount of $2,500,000.00 recorded in the Recorder’s Office for
                    14       San Mateo County on or about January 17, 2017 as Document No. 2017-008300;
                    15                       (d)       Deed of Trust of Dakota Note, LLC in the original principal amount of
                    16       $2,200,000.00 recorded in the Recorder’s Office for San Mateo County on or about September
                    17       29, 2017 as Document No. 2017-085459;
                    18                       (e)       Deed of Trust of Dakota Note, LLC as to an undivided
                    19       1,255,000/1,350,000 interest and Natural Software Systems, Inc. Money Purchase Pension Plan,
                    20       as to an undivided 95,000/1,350,000 interest recorded in the Recorder’s Office for San Mateo
                    21       County on or about February 13, 2018 as Document No. 2018-009934;
                    22                       (f)       Deed of Trust of Dakota Note, LLC, as to an undivided
                    23       2,250,000/4,550,000 interest and Tanya Waltimyer, a married woman as her sole and separate
                    24       property, as to an undivided 1,000,000/4,550,000 interest and Jason Greenfield, a married man,
                    25       as his sole and separate property, as to an undivided 500,000/4,550,000 interest and Natural
                    26       Software Systems, Inc. Money Purchase Pension Plan, as to an undivided 490,000/4,550,000
                    27       interest in the original principal amount of $4,550,000.00 recorded in the Recorder’s Office for
                    28       San Mateo County on or about April 27, 2018 as Document No. 2018-032666;

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                         1                   (g)       Deed of Trust of Dakota Note, LLC as to an undivided
                         2   2,450,000/3,000,000 interest and Natural Software Systems, Inc. Money Purchase Pension Plan,
                         3   as to an undivided 550,000/3,000,000 interest in the original principal amount of $3,000,000.00
                         4   recorded in the Recorder’s Office for San Mateo County on or about January 7, 2019 as
                         5   Document No. 2019-001052;
                         6                   (h)       Deed of Trust of Dakota Note, LLC in the original principal amount of
                         7   $1,000,000.00 recorded in the Recorder’s Office for San Mateo County on or about April 2,
                         8   2019 as Document No. 2019-023434;
                         9                   (i)       Notice of Pending Action recorded in the Recorder’s Office for San Mateo
                    10       County on or about February 2, 2023 as Document No. 2023-004942;
                    11                       (j)       Notice of Pending Action recorded in the Recorder’s Office for San Mateo
                    12       County on or about March 16, 2023 as Document No. 2023-011634;
                    13                       (k)       Notice of Pending Action recorded in the Recorder’s Office for San Mateo
                    14       County on or about March 29, 2023 as Document No. 2023-014038;
                    15                       (l)       Any claim, lien, encumbrance, or other asserted ownership interest or
                    16       other rights in the Barry Lane Property of Nariman Seyed, Teymourian, Gail Suzanne Marie
                    17       Teymourian, Sarah L. Little, as Chapter 7 Trustee for the Bankruptcy Estate of Nariman Seyed,
                    18       Teymourian, 2700 Middlefield Road, LLC, a Delaware limited liability company, Ferrando
                    19       Diversified Capital, LLC, a California limited liability company, and Alviso Park, LLC, a
                    20       Delaware limited liability company; and
                    21                       (m)       Any claim, lien, encumbrance, or other asserted ownership interest or
                    22       other rights in the Barry Lane Property asserted by any party in: (i) Teymourian et al. v. Dakota
                    23       Note, LLC et al., Case No. 22-CIV-04679, California Superior Court for San Mateo County; (ii)
                    24       Teymourian et al. v. 66 Barry Lane et al., AP Case No. 23-3038-DM, United States Bankruptcy
                    25       Court, Northern District of California; and (iii) Teymourian et al. v. 66 Barry Lane et al., AP
                    26       Case No. 24-5005-DM, United States Bankruptcy Court, Northern District of California.
                    27              4.       Authorizing Chicago Title Company (or such other escrow company selected by
                    28       Debtor) to pay from the proceeds of sale for the Barry Lane Property each of the following:

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                         1                   (a)       The outstanding loan balance for the Promissory Note secured by the
                         2   Deed of Trust of Technology Credit Union in the original principal amount of $8,000,000.00
                         3   (currently estimated at $8,700,000.00) recorded in the Recorder’s Office for San Mateo County
                         4   on or about December 15, 2016 as Document No. 2016-133248;
                         5                   (b)       The outstanding loan balance for the Promissory Note secured by the
                         6   Deed of Trust of Community Bank of the Bay in the original principal amount of $7,000,000.00
                         7   (currently estimated at $7,791,431.35) recorded in the Recorder’s Office for San Mateo County
                         8   on or about September 22, 2021 as Document No. 2021-135494;
                         9                   (c)       Outstanding ad valorem taxes due and owing to the City and County of
                    10       San Mateo (approximately $453,747.05) as of the close of escrow;
                    11                       (d)       A total real estate broker commission of 5.00% (estimated at
                    12       $1,150,000.00) to be divided as follows: 2.50% (estimated at $575,000.00) to William Henry
                    13       Haze of Compass California II, Inc. and 2.50% (estimated at $575,000.00) to be paid to Michael
                    14       Dreyfus of Golden Gate Sotheby’s International Realty;
                    15                       (e)       The ordinary and customary costs of sale and escrow as provided for in
                    16       the Residential Purchase Agreement, as amended and ratified;
                    17                       (f)       The applicable transfer taxes as provided for in the Residential Purchase
                    18       Agreement, as amended and ratified; and
                    19                       (g)       All other customary and ordinary fees, costs, and taxes as required by the
                    20       Residential Purchase Agreement.
                    21              5.       Chicago Title Insurance Company (or such other escrow company selected by
                    22       Debtor) shall remit to Debtor the remaining net proceeds of sale (approximately $4,889,671.60)
                    23       from the Barry Lane Property, after payment of all claims set forth in Paragraph 4 of this Order;
                    24              6.       The fourteen (14) day stay provided for by Federal Rule Bankruptcy Procedure
                    25       6004(h) is hereby WAIVED in its entirety;
                    26              7.       Buyer is hereby determined to be a “good faith purchaser” of the Barry Lane
                    27       Property pursuant to the standard set forth in 11 U.S.C. § 363(m);
                    28              8.       Debtor and Buyer are authorized to execute all such documents as are necessary

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                         1   to complete the sale of the Barry Lane Property; and
                         2          9.       The Bankruptcy Court shall retain jurisdiction with respect to all matters arising
                         3   from or related to the implementation of this Order.
                         4                                       *** END OF ORDER ***
                         5
                         6          APPROVED AS TO FORM:
                         7
                                    KORNFIELD, NYBERG, BENDES,
                         8
                                    KUHNER & LITTLE, P.C.
                         9
                                    /s/ ERIC A. NYBERG
                    10              Eric A. Nyberg, Esq.
                                    Attorneys for SARAH L. LITTLE, as
                    11
                                    Chapter 7 Trustee for the Bankruptcy
                    12              Estate of Nariman Seyed Teymourian

                    13
                    14              BROWNSTEIN HYATT FARBER
                                    SCHRECK, LLP
                    15
                                    /s/ STEVEN E. ABELMAN
                    16              Steven E. Abelman, Esq.
                    17              Attorneys for Buyer
                                    B. LIMA, LLC
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                         1                                      COURT SERVICE LIST
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                         3   None
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